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                                 NORTHERN DISTRICT OF CALIFORNIA
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                                       SAN FRANCISCO DIVISION
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13   UNITED STATES OF AMERICA,                       ) CRIMINAL NO. 3:13CR00363-002 EMC
                                                     )
14           Plaintiff,                              ) UNITED STATES’ SENTENCING
                                                     ) MEMORANDUM
15      v.                                           )
                                                     )
16   MERCEDEZ KIDD,                                  )
                                                     )
17           Defendant.                              )
                                                     )
18

19           On June 13, 2018, Mercedez Kidd will appear before the Court for sentencing on a supervised
20 release violation. The violation is Class C and Kidd was a Criminal History Category I at the time of

21 sentencing, resulting in a recommended guideline range of 3-9 months in custody. The U.S. Probation

22 Officer recommends a sentence of three months in custody, six months in a residential re-entry center,

23 followed by 48 months of supervised release. The government concurs with this recommendation. The

24 government shares the Probation Officer’s concerns regarding the suitability of home confinement

25 and/or location monitoring, given Kidd’s demonstrated difficulty complying with conditions of

26 supervision and, as the Probation Officer has characterized it, her tumultuous relationship with her

27 parents. The government is hopeful that the custodial sentence recommended by the Probation Officer

28 will allow Kidd the opportunity to become clean and sober. The government also hopes that the

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 1 recommend time in the residential re-entry center will provide Kidd the necessary support and structure

 2 to enable her to remain sober and abide by the terms of supervision.

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 4

 5 DATED: June 12, 2018                                Respectfully Submitted,

 6                                                     ALEX G. TSE
                                                       Acting United States Attorney
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 8                                                              /s/
                                                       KAREN KREUZKAMP
 9                                                     Assistant United States Attorney
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